446 F.2d 1402
    UNITED STATES of America, Plaintiff-Appellee,v.Judge Mark ANKROM, Defendant-Appellant.No. 71-1595 Summary Calendar.**(1) Rule 18, 5th Cir.; see Isbell Enterprises, Inc.v.Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431F.2d 409, Part I.
    United States Court of Appeals, Fifth Circuit.
    Aug. 17, 1971.
    
      Lester L. Klein, San Antonio, Tex., Court-appointed, for defendant-appellant.
      Seagal V. Wheatley, U.S. Atty., Wayne F. Speck, Asst. U.S. Atty., San Antonio, Tex., for plaintiff-appellee.
      Before COLEMAN, SIMPSON, and MORGAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      The appellant, whose name is Judge Mark Ankrom, was convicted by a jury of transporting in interstate commerce a stolen 1968 Mercury automobile in violation of 18 U.S.C. 2312.  He now seeks reversal on the following grounds: (1) the evidence was insufficient to support the conviction; (2) the prosecution should not have been allowed to impeach his testimony by proof of prior offenses; (3) a voluntary statement prepared by him and his attorney and delivered to the United States Attorney prior to indictment should not have been admitted in evidence; and (4) evidence found in the car after it had been returned to its owner, Hertz Rent-A-Car, should not have been admitted in evidence.
    
    
      2
      Our examination of the record and briefs reveals, beyond question, that the evidence was more than sufficient to support the conviction and the other contentions are likewise without merit.  See United States v. Ryan, 5 Cir., 1969, 415 F.2d 847; United States v. Meek, 7 Cir., 1968, 388 F.2d 936; United States v. Bruton, 8 Cir., 1969, 414 F.2d 905; Harris v. New York, 401 U.S. 222, 91 S.Ct. 643, 28 L.Ed.2d 1 (1971); United States v. Kucinich, 6 Cir., 1968, 404 F.2d 262; Johnson v. United States, 5 Cir., 1966, 358 F.2d 139.
    
    
      3
      The judgment of the District Court is Affirmed.
    
    